EXHIBIT A
619/020
11/14/2007 03:55 FAX 202 208 4877 DPW

United States Department of the Interior
NATIONAL PARK SERVICE
1849 C Street, N.W.
Washington, D.C. 20240

 

** * ELECTRONIC COPY ONLY -NO HARD COPY TO FOLLOW * + =

L30 (2465) October 24, 2007
Memorandum
To: Regional Directors
Attention: Superintendents
From: Director /s/ Mary A. Bomar
Subject: Political Activities Involving NPS Land or NPS Employees

This memorandum, developed with the help of the Solicitor’s Office, serves as a timely reminder
for Regional Directors and Superintendents of the legal and policy guidance governing political
activities in the National Park System and political activities by National Park Service (NPS)
eroployees.

L Demonstrations

NPS Management Policies ] 8.6.3 (2006) provides that NPS will authorize the use of parkland
for public assemblies, mectings, demonstrations, religious activities, and other public expressions
of views protected under the First Amendment of the U.S. Constitution, in accordance with 36
CFR § 2.51 or 36 CFR § 7.96. The terms “public expressions of views” under 36 CFR § 2.51
and “demonstratiozs” under 36 CER § 7.97(g) have traditionally been used interchangeably to

grievances, engaged in by one or more persons, the conduct of which has the effect, intent or
Propensity to draw a crowd or onlookers. This ferm does not incinde casnal park use by visitors
or tourists which does not have an intent or propensity to attract a crowd or onlookers.” 36 CFR
§ 7.97(g)(1). Since such demonstrations involve personal expressive activity, and parks are not
mere billboard venues, unattended signage is not allowed. a

Two different sets of NPS regulations govern demonstrations on parkland. One is applicable in
National Capital Region Darks under 36 CFR § 7,96(2) and the other applies to all other parks
under 36 CFR § 2.51. These regulations are quite detailed and must be closely followed.
Within most park units of the National Capital Region, the NPS issues or denies permits based
0
11/14/2007_03;,55 FAX 202 208 3877 DPH mrvuos uve

;

T 8.6.3 (2006) also provides that a permit request under 36 CFR § 2.51 will be issued or denied
within two business days after receipt of a proper application.

I _ Political Activities by Federal Employees |

Political activities of Federal employees are governed by the Hatch Act, which establishes |
general provisions applicable for all Federal employees as well as specific miles which are
dependent on certain employment classes. Attached is a summary of the Hatch Act as well as
information on permissible political activity in the National Park System, issued by the
Department's Ethics Office and the Solicitor’s Office, September 8, 2004, Also attached is NPS
HR Advisory 06-022 dated May 22, 2006, on the display of political signage in and from park
housing. .
If you have any questions, please contact Lee Dickinson, Special Park Uses Program Manager at
202/513-7092, Legal questions may be directed to Assistant Solicitor Molly N. Ross or Senior
Attorney Randolph J. Myers, Office of the Solicitor, Branch of National Parks, at 202/208-4338.

Attachments
